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UNITED STATES DISTRICT COURT es rng
NOTHERN DISTRICT OF OHIO ~ED Sy
EASTERN DIVISION JF <y * <a
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RYAN D. MALONE, UN iG) OF HRT
Case No. 1:17-cv-2290
Petitioner, (1:14-cr—438)

MOTION FOR LEAVE TO AMEND THE PLEADINGS
BY SUPPLEMENTING THE CLAIMS ALREADY RAISED

TO PREVENT MANIFEST INJUSTICE IN THE CASE

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UNITED STATES OF AMERICA,

Respondent. Fed.R.Civ.P. 15(a)

Comes now Ryan D. Malone, Petitioner, pro se, to respectfully move this Hon-
orable Court to permit him to amend the pleadings already on file in this colla-
teral motion, where prevailing case law from the Supreme Court has cause a sub-
stantive change in controlling law that, in the iterests of justice, demonstrate
the charges under which he was charged are ones the Government cannot constitu-
tionally prosecute an individual, under the totality of the circumstances that
will be presented in the proposed amended pleadings in this collateral attack.

Petitioner asserts that leave to so amend should be given, where the Supreme
Court, in Foman v. Davis, 371 U.S. 178 (1962), held that leave should be freely
given "when justice requires," id., at 182, except in cases involving "undue de-
lay, bad faith or dilatory motice on the part of the movant, repeated failure to
cure deficiencies by amendments previously allowed, under prejudice to the oppos-
ing party by virtue of allowance of the amendment, futility of amendments, etc."
See, e.g., Lamb v. Wilson, 2018 U.S.App. LEXIS 1016, at * 12 (6th Cir. 2018) (cit-
ing Foman, supra.

Petitioner asserts the amendment proposed will not be for any of the excep-—
tions that would preclude the Court from accepting the amended pleadings, and al-

lowing the Government to respond to the amended pleadings that would show this
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Court, and the Government, that the prosecution of this case was unconstitutional,
under the principles to be presented in the amended pleadings.

Because the amended pleadings are in the early stages of preparation, Peti-
tioner would request the Court grant an extension of time, up to July 22, 2018,
for the submission of the amended pleadings, since the Government has already pro-
ferred its answer to the original motion, but there has been no recommendation
on the part of the U.S. Magistrate, and, therefore, Petitioner would ask a stay
be granted until he can submit his amended pleadings for consideration by the
Court, where, "[tlo perform its high function in the best way 'justice must satis-—
fy the appearance of justice,'" In re Murchison, 349 U.S. 133, 136 (1955), where,
as will be shown in the amended pleadings, "the "appearance of evenhanded justice
is at the core of due process."" Mayberry v. Pennsylvania, 400 U.S. 455, 469
(1971):

Conclusion

Wherefore premises considered, this motion should be granted in all respects,

express and implied, with the extension of time to submit the amended pleadings

be on or before July 22, 2018.

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Dated: July a 2018.
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Respectfully submitted,

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Certificate of Service
I hereby certify that a copy of the foregoing motion to amend the pleadings,
etc., was served, by first class mail, on this = day of July, 2018, on:
The United States Attorney
Northern District of Ohio

801 Superior Ave., Ste. 400
Cleveland, OH 44113

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RYAN D. MALONE, Petitioner pro se

 
